       Case 18-15608          Doc 32       Filed 04/09/19 Entered 04/09/19 12:13:01                       Desc Main
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION


 In re: Brandon Brantley                                       )            Case No. 18-15608
                                                               )
                                                               )            Chapter 13
                                                               )
 SSN: XXX-XX- 0994                             Debtors         )            Honorable Timothy A. Barnes



            AMENDED           ORDER TO EMPLOYER TO PAY THE TRUSTEE

 To: Amazon.com Services Inc

     202 Westlake Ave
     Seattle, WA 98109
        Attn: Payroll Department

 WHEREAS, the above named debtor has submitted a plan to pay his/her debts out of his/her future earnings,
 and by his/her plan submits all of his/her future earnings to the supervision and control of this Court for the
 purpose of carrying out the Plan:

                                                                            Amazon.com Services Inc
 NOW IT IS THEREFORE ORDERED, that until further order of this Court,_____________________________________,
 employer of _______________________________,
             Brandon Brantley                                                                           325
                                                    deduct from the earnings of the debtor the sum of $____________
 each month beginning on the next pay day following the receipt of this order and to pay the sum so deducted to ,
 Marilyn O. Marshall, Trustee at least once a month at the following address:

                                        Marilyn O. Marshall Chapter 13 Trustee
                                                    P.O. Box 2031
                                              Memphis, TN 38101-2031
 IT IS FURTHER ORDERED, that the employer shall stop or change the deduction upon written notice from the
 Trustee;

 IT IS FURTHER ORDERED, that the employer shall notify the Trustee if the employment of the debtor is
 terminated and the reason for such termination;

 IT IS FURTHER ORDERED, that all earnings of the debtor, except amounts required to be withheld by the
 provisions of Federal or State law or for insurance, pension or union dues, be paid to the debtor and that no
 deduction other than authorized or directed by this order be made by the employer.
                                                               FOR THE COURT



 Date
 Entered:
                                                                Jeffrey Allsteadt, Clerk, United States Bankruptcy Court

Debtor or Attorney Signature /s/ Alexander Nohr
                              ______________________                                          04/09/2018
                                                                                         Date:_______________

  ✔     I agree to entry of this order without further notice or hearing.

       Check this box if the debtor has agreed to the entry of this order without further notice or hearing through Section
       I of the Chapter 13 Plan.
Form No. 25
